923 F.2d 848Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Stanley M. EVANS, Petitioner-Appellant,v.Edward W. MURRAY, Attorney General of the Commonwealth ofVirginia, Respondents-Appellees.
    No. 90-6189.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 7, 1991.Decided Jan. 25, 1991.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  David G. Lowe, United States Magistrate Judge.  (CA-90-480-3)
      Stanley M. Evans, appellant pro se.
      Robert Quentin Harris, Assistant Attorney General, Richmond, Va., for appellees.
      E.D.Va.
      DISMISSED.
      Before DONALD RUSSELL, WIDENER and K.K. HALL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Stanley M. Evans seeks to appeal the magistrate judge's* order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the magistrate judge's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the magistrate judge.  Evans v. Murray, CA-90-480-3 (E.D.Va. Nov. 9, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    
      
        *
         Both parties consented to the jurisdiction of a United States Magistrate Judge pursuant to 28 U.S.C. Sec. 636(c)
      
    
    